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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA


Valerie Anderson,                           Case No. 23-cv-533 (SRN/DTS)

      Plaintiff,                              ORDER TO CONSOLIDATE

v.

Fortra LLC,

      Defendant.


Robert Taylor,                              Case No. 23-cv-539 (SRN/DTS)

      Plaintiff,

v.

Fortra LLC,

      Defendant.


Edward Hubler,                              Case No. 23-cv-545 (SRN/DTS)

      Plaintiff,

v.

Fortra LLC,

                    Defendant.
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 Muhammad Zahid,                                       Case No. 23-cv-615 (SRN/DTS)

        Plaintiff,

 v.

 Fortra LLC,

        Defendant.


 Alauntae Butts, et al.,                          Case No. 23-cv-636 (SRN/DTS)

        Plaintiff,

 v.

 Fortra LLC,

        Defendant.


       This Matter is before the Court on Plaintiffs’ Unopposed Motion for Consolidation

of Related Actions. For the reasons stated therein, the Motion is GRANTED.

       IT IS HEREBY ORDERED:

       1.      The above-captioned actions will be consolidated into one Consolidated

Action. As the first filed action, Anderson v. Fortra LLC, Case No. 23-cv-533 (SRN/DTS)

(D. Minn.) will be the lead case. All future orders, pleadings, motions, and other

documents in the present action will be filed in the Consolidated Action;

       2.      The action Robert Taylor, v. Fortra LLC, Case No. 23-cv-539 (SRN/DTS)

(D. Minn.) will be administratively closed;

       3.      The action Hubler v. Fortra LLC, Case No. 23-cv-545 (SRN/DTS) (D. Minn.)

will be administratively closed.


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       4.      The action Zahid v. Fortra LLC, Case No. 23-cv-615 (SRN/DTS) (D. Minn.)

will be administratively closed.

       5.      The action Butts, et al v. Fortra LLC, Case No. 23-cv-636 (SRN/DTS)

(D. Minn.) will be administratively closed.

       6.      Plaintiffs from the consolidated, administratively closed cases shall be listed

in the lead case, 23-cv-533.

       7.      This Order shall apply to all class actions subsequently filed in this District

alleging claims similar to those set forth in the above-captioned consolidated actions and

brought on behalf of individuals who assert claims related to Defendant Fortra’s alleged

Data Breach.

       All deadlines for Defendant to file responsive pleadings are stayed until Plaintiffs’

Court-appointed interim leadership files a consolidated amended complaint, which

Plaintiff shall file within thirty (30) days following the later of the Court’s ruling on this

motion to consolidate or Plaintiffs’ forthcoming motion to appoint interim leadership.

Defendant will file any responsive pleading or motion aimed at the complaint pursuant to

Fed. R. Civ. P. 12 within forty-five (45) days of the filing of the consolidated amended

complaint. Plaintiff will then file any opposition to any motion aimed at the complaint

pursuant to Fed. R. Civ. P. 12 within forty-five (45) days following the filing of such motion,

Defendant filing any reply in support of any motion pursuant to Fed. R. Civ P. within

twenty-one (21) days following the filing of Plaintiffs’ opposition brief.


Dated: March 30, 2023                              ___s/David T. Schultz______
                                                   DAVID T. SCHULTZ
                                                   U.S. Magistrate Judge




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